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          EXHIBIT F – DECLARATION OF
               AIMEE LEISHURE
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO

STUDENT RESOURCE CENTER, LLC,                     )
                                                  )
          Plaintiff,                              )
                                                  )       DEMAND FOR JURY TRIAL
v.                                                )
                                                  )       Case No.
EASTERN GATEWAY COMMUNITY                         )
COLLEGE,                                          )
                                                  )
          Defendant.                              )
                                                  )
                                                  )
                                                  )
                                                  )
                                                  )


                                DECLARATION OF Aimee Leishure

        STATE OF MARYLAND
                                         : ss.
        COUNTY OF CARROLL


        I, Aimee Leishure, being first duly sworn, deposes and states as follows:

            1.         I am an individual currently residing in the State of Maryland and am over the

     age of 18 years. I have personal knowledge of the facts stated herein and am competent to

     testify with respect to them.

            2.         I submit this affidavit in support of Student Resource Center, LLC’s (“SRC”)

     Motion for a Preliminary Injunction filed with the Court in this case.

            3.         I am the Chief Financial Officer of Student Resource Center, LLC and have

     been since July 26, 2021.

            4.         I have read, and I am familiar with the Collaboration Agreement dated June

     30, 2017, as amended on or around October 2019 and February 1, 2021 (collectively, the



                                                      1
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  “Agreement”), which remains in force until at least June 30, 2027. A copy of the

  Collaboration Agreement is attached to the brief in support of the motion as Exhibit B.

         5.       Since SRC’s termination of Michael Perik in March of 2022, EGCC has

  withheld

                          under Exhibit B of the Agreement.

         6.



                                    - -
                  EGCC failed to reimburse SRC for

  were invoiced to EGCC on May 5, 2022 (
                                        -
                                                                 worth of operating expenses that

                                                        May 19, 2022               June 3, 2022



  -      7.
              and June 22, 2022
                                  -
                  Based on SRC’s calculations, EGCC owes

                   to SRC related to terms ended prior to December 31, 2021.

         8.       Based on the income statement for online collaboration that EGCC tendered

  to me as the CFO of SRC,




  -      9.       I reviewed the Brief in Support of SRC’s Motion for a Preliminary Injunction

  and as the factual matters set forth in the Brief, those matters are true and accurate to the best

  of my belief.

DECLARANT AFFIANT SAYETH NOT.

                                                     /s/ Aimee Leishure
                                                     Aimee Leishure




                                                2
